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                         Exhibit 1
                   Amici's Proposed Brief
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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


United States of America
                                                   Case No. 24-CR-00556 (DEH)
                 -against-
                                                   District Judge Dale E. Ho
Eric Adams,

                     Defendant.



______________________________________________________________________________

            BRIEF OF AMICI FORMER UNITED STATES ATTORNEYS
______________________________________________________________________________
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                           IDENTITY AND INTERESTS OF AMICI

        Amici are former United States Attorneys who served in New York City and the Tri-state

area.1 During their tenure, amici acted to uphold a set of values that have guided the United

States Department of Justice (“DOJ”) for decades. Amici believe that federal prosecutors are

duty-bound to exercise their tremendous power fairly, without regard to partisan politics, and in

furtherance of the rule of law.

        Amici believe that federal prosecutors should not make criminal charging decisions based

on political associations, political activities, or personal allegiances. They believe that it is

inappropriate to treat a defendant more leniently because the defendant is powerful or well-

connected. They directed those who worked for them to pursue justice without fear or favor, and

they made their charging decisions based entirely on the facts and the law. They believe that

these values are foundational to a fair and just legal system.

        Amici believe that these values have been tested by the recent actions of the leadership of

the Department of Justice in this case. They are deeply concerned that those actions threaten

public confidence in federal law enforcement, and that the federal courts must not be seen as

endorsing law enforcement decisions based on political expediency or false and misleading

information. In this respect, amici believe that they collectively represent the views of the vast

majority of men and women, here and elsewhere, who served as federal prosecutors and who




1
 Amici consist of John S. Martin Jr. (former United States Attorney for the Southern District of
New York (1980-1983) and former Judge for the United States District Court for the Southern
District of New York (1990-2003)); Robert J. Cleary (former United States Attorney for the
District of New Jersey (1999-2002)); and Deirdre M. Daly (former United States Attorney for the
District of Connecticut (2013-2017)).


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faithfully supported and defended the Constitution and the laws of the United States.2 Amici

submit this brief to respectfully advise the Court about the procedural steps the Court can take to

ensure that the Court’s integrity and the rule of law are protected before ruling on the pending

motion to dismiss.


                                       INTRODUCTION

       In the considerable experience of the amici, the events of the past week are

unprecedented. We witnessed a directive from a senior DOJ official to the United States

Attorney for the Southern District of New York to dismiss the pending prosecution of the Mayor

of New York City, Eric Adams.3 (Ex. 2). The United States Attorney refused the directive, and

wrote a letter to the Attorney General saying she could not in good faith move to dismiss the

case. The letter closed with an offer to resign if the DOJ insisted on the dismissal. (Ex. 3).

       The DOJ responded by castigating the United States Attorney, placing members of the

prosecution team on administrative leave, opening investigations of the United States Attorney

and members of her staff, and removing the United States Attorney’s Office (“USAO”) from the

case. (Ex. 4). A member of the prosecution team then wrote a letter saying that the DOJ’s stated

reasons to dismiss the case were pretextual and opining that only a “fool” or a “coward” would

sign the dismissal motion. (Ex. 5). When the DOJ subsequently approached the leadership of its


2
  Amici note, in this regard, that a public statement regarding recent events in this case was
issued on February 14, 2025, by former United States Attorneys Robert B. Fiske, Jr., John S.
Martin, Jr., Mary Jo White, James B. Comey, David N. Kelley, Geoffrey S. Berman, and Audrey
Strauss. See Benjamin Weiser, Seven Former Manhattan U.S. Attorneys Voice Support for
Sassoon, New York Times, February 14, 2025. Additional public statements regarding these
events, joined in by hundreds of former federal prosecutors, have been issued or will be issued
shortly.
3
  For the Court’s convenience, and to make sure that relevant materials are included in the public
record of this case, we have attached the materials from the public record to which this brief
refers.


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Public Integrity Section, the leadership resigned their jobs. Thereafter, the remaining members

of the Public Integrity Section were reportedly given an hour to decide who would file the

motion and led to believe that they might be fired if no one came forward. (Ex. 6). One senior

member of the Section agreed to sign the motion, apparently motivated by the desire to save the

jobs of his colleagues. (Id.). An application for a nolle prosequi finally emerged (Dkt. No. 122),

along with a public statement from the DOJ claiming that the Adams prosecution amounted to a

“politically motivated witch hunt.” (Ex. 7 at 3–4).

       These striking and unprecedented facts raise important issues about the rule of law,

executive power, and the authority of courts to preserve the integrity of the federal criminal

justice system. They also raise questions about the use of the machinery of justice to serve

political expediency, the professional obligations of federal prosecutors, and the independence of

the Department of Justice and its components. For this Court, the events pose one central

question: is the pending motion to dismiss the Adams indictment advanced in good faith,

consistent with the public interest?

        Amici believe that this Court should conduct a factual inquiry before ruling on the

pending request for a nolle prosequi. Under Rule 48(a) of the Federal Rules of Criminal

Procedure, the Court has the authority—indeed the responsibility—to determine if dismissal is

sought for appropriate reasons and in the interests of justice. Accordingly, we believe that the

Court should develop a full factual record with respect to the following issues, among others:

           •   Does the DOJ possess information to support its assertion that the Adams
               prosecution was brought as a “politically motivated witch hunt?” Conversely, do
               the nature of the charges, the strength of the evidence, and the surrounding
               circumstances indicate that the Adams prosecution was pursued for bona fide law
               enforcement reasons?

           •   Are there facts that would warrant a finding that the Adams investigation and
               prosecution were pursued for illegitimate reasons? Specifically, does the


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                Department have evidence that the investigation and prosecution were brought as
                political retribution related to Mayor Adams’ calls upon the Biden administration
                to provide greater resources to address immigration in New York?

            •   Can the DOJ present evidence to suggest that the return of the indictment was
                intended or timed to damage the electoral prospects of Mr. Adams?

            •   Does or will the pendency of the indictment preclude Mayor Adams from
                enforcing federal, state, and local laws concerning immigration?

            •   Did Mayor Adams request, or did DOJ offer, the dismissal of Mayor Adams’
                indictment in exchange for his assistance in immigration enforcement? If so, was
                this an appropriate use of federal law enforcement authority?

            •   Did counsel for Mayor Adams meet and/or negotiate with DOJ personnel, without
                the involvement of SDNY prosecutors, to develop a rationale for dismissing the
                case against him?

            •   Does the DOJ have any evidence that Damian Williams, while United States
                Attorney, took any actions in this case to further a personal political agenda? Is
                there any reason to believe that any actions he took after leaving the United States
                Attorney’s Office would interfere with the pending prosecution of Mayor Adams?

            •   To what extent, if any, did Mayor Adams inappropriately attempt to curry favor
                with President Trump, and did any such efforts influence the decision of DOJ to
                seek the dismissal of the indictment?

            •   Is the request to dismiss the indictment without prejudice intended to induce
                Mayor Adams to cooperate with the Trump Administration’s policy objectives or
                political efforts?

            •   Given the nature of the charges, the strength of the evidence, and the defendant’s
                position of public responsibility, what facts exist to indicate that dismissal of the
                indictment would be in the public interest? What impact would such a dismissal
                have on the public’s confidence in the integrity of the judicial process, including
                among the voters and taxpayers of New York City, who are the constituencies
                most affected by the crimes charged in the indictment?

        We demonstrate below that the Court has abundant authority under Rule 48(a) to consider

these and related matters in deciding whether dismissal of the indictment is appropriate and in

the public interest.




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                                          ARGUMENT

   I.      The District Court’s Gatekeeping Role under Rule 48(a)

        Prosecutors have broad discretion to determine “whether or not to prosecute.” United

States v. Blaszczak, 56 F.4th 230, 238 (2d Cir. 2022) (citation omitted, emphasis in original). But

the Federal Rules of Criminal Procedure do not permit, much less require, this Court simply to

acquiesce to the government’s request to dismiss this case. The Adams indictment was presented

to a properly constituted grand jury, and the grand jury voted the indictment and returned it to the

Court. The case is therefore “no longer entirely within the realm of . . . executive authority.”

United States v. Stevenson, 425 F. Supp. 3d 647, 651 (S.D.W. Va. 2018) (emphasis removed).

        Rule 48(a) makes this clear in conferring authority on a prosecutor to dismiss an

indictment only “with leave of court.” That operative phrase originates with an amendment to

draft Rule 48 made by the Supreme Court, subsequently adopted by Congress, and “manifest[ly]

. . . intended to make a significant change in the common law rule by vesting in the courts the

power and the duty to exercise a discretion for the protection of the public interest.” United

States v. Cowan, 524 F.2d 504, 510–13 (5th Cir. 1975) (discussing history of Rule 48(a)) (quoted

in Blaszczak, 56 F.4th at 240). The rule “modif[ies] and condition[s] the absolute power of the

Executive, consistently with the Framer’s concept of Separation of Powers, by erecting a check

on the abuse of Executive prerogatives.” Cowan, 524 F.2d at 513.

        Significantly, Rule 48(a) “may serve an important interest as an information- and

accountability-producing vehicle . . . that exposes the reasons for prosecutorial decisions.” In re

Richards, 213 F.3d 773, 788 (3d Cir. 2000). As the Richards court put it, “the public has a

generalized interest in the processes through which prosecutors make decisions about whom to

prosecute,” and courts can serve that interest “by inquiring into the reasons for [the] requested




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dismissal.” Id. at 789. Accordingly, the “leave of court” requirement in Rule 48(a) “allow[s] a

court to force prosecutors to publicly reveal their reasons for not proceeding before granting a

requested dismissal.” Id. This process “may, in turn, lead to attempts by the public to influence

these decisions through democratic channels.” Id.

       Under the case law, two requirements follow from Rule 48(a)’s “leave of court”

clause. First, a court presented with a motion to dismiss an indictment under Rule 48(a) has the

authority to develop a factual record sufficient to support the court’s decision to grant or deny

leave to dismiss. “[T]he Rule contemplates public exposure of the reasons for the abandonment

of an indictment . . . in order to prevent abuse of the uncontrolled power of dismissal previously

enjoyed by prosecutors.” United States v. Greater Blouse, Skirt & Neckwear Contractors Ass’n,

228 F. Supp. 483, 486 (S.D.N.Y. 1964); see also United States v. Ammidown, 497 F.2d 615, 622

(D.C. Cir. 1973) (“The requirement of judicial approval entitles the judge to obtain and evaluate

the prosecutor’s reasons.”). A court, “to honor the purpose of the rule . . . at the very least must

know the prosecutor’s reasons for seeking to dismiss the indictment and the facts underlying the

prosecutor’s decision.” United States v. Derr, 726 F.2d 617, 619 (10th Cir. 1984). Further, the

prosecutor seeking dismissal “is under an obligation to supply sufficient reasons [to support the

motion to dismiss]—reasons that constitute more than a mere conclusory interest.” United States

v. Salinas, 693 F.2d 348, 352 (5th Cir. 1982) (internal quotation marks, citation and footnote

omitted); see also Richards, 213 F.3d at 788.

       Second, in assessing the factual record, Rule 48(a)’s touchstone is good faith. Blaszczak,

56 F.4th at 240. As the Second Circuit has explained, a district court should grant a motion

brought under Rule 48(a) “absent a finding of bad faith or disservice to the public interest.” Id.

at 240–41 (citation omitted). The court’s examination of the “public interest” should focus on




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“the motive of the prosecutor” in seeking dismissal of the case. Id. “The salient issue” under

Rule 48(a) is whether the government’s effort to “terminate the prosecution” is “tainted with

impropriety.” Rinaldi v. United States, 434 U.S. 22, 30 (1977); see also Thomas Ward Frampton,

Why Do Rule 48(a) Dismissals Require “Leave of Court,” 73 Stan. L. Rev. Online 28, 37 (2020)

(“[Rule 48(a)] arm[s] district judge[s] with a powerful tool to halt corrupt or politically

motivated dismissals of cases”).

         One reason that Rule 48(a) requires court approval to dismiss an indictment is to

prevent unfairness to the defendant, and to prevent the government from gaining tactical

advantage by dismissing a case and then later obtaining a new indictment. Here, of course, Mr.

Adams will not interpose an objection to the dismissal of the case, particularly since the

Department has indicated that any reexamination of the case will not take place until after the

November mayoral election. But that does not alter the Court’s authority: Rule 48(a) has “been

held to permit the court to deny a Government dismissal motion to which the defendant has

consented if the motion is prompted by considerations clearly contrary to the public interest.”

Rinaldi, 434 U.S. at 29 n.15 (declining to decide the issue); Ammidown, 497 F.2d at 620 (noting

that the court must determine whether a Rule 48(a) motion is proper even where a defendant

consents to the motion); United States v. Flynn, 507 F. Supp. 3d 116, 128–29 (D.D.C. 2020).

The Court has the authority under Rule 48(a) and otherwise to protect the integrity of the judicial

process irrespective of Mr. Adams’ position on the motion.

   II.      “Good Faith” and the “Public Interest” under Rule 48(a)

         Courts tasked with assessing a Rule 48(a) motion have equated “bad faith” with requests

to dismiss that are “contrary to the public interest” and “good faith” with requests that are “not

clearly contrary to manifest public interest.” United States v. Rosenberg, 108 F. Supp. 2d 191,




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204 (S.D.N.Y. 2000). The Second Circuit has noted in dicta that some courts have “equat[ed] a

dismissal that is clearly contrary to the public interest with one in which the prosecutor appears

motivated by bribery, animus towards the victim, or a desire to attend a social event rather than

trial.” United States v. HSBC Bank USA, N.A., 863 F.3d 125, 141 (2d Cir. 2017) (quoting

Richards, 213 F.3d at 78–88). The D.C. Circuit has explained that “bad faith” in this context

means an act that so departs “from sound prosecutorial principle as to mark it an abuse of

prosecutorial discretion.” Ammidown, 497 F.2d at 622. And, as the Third Circuit has noted, a

district court may conduct a hearing in furtherance of its “inherent authority to ensure that its

processes are not being abused.” Richards, 213 F.3d at 788–99.

       Opinions authorizing dismissal under Rule 48(a) help to illuminate a court’s role in

assessing a prosecutor’s dismissal request. It is permissible under Rule 48(a), for example, for a

prosecutor to dismiss an indictment that violates a newly “announced [] general policy against

multiple prosecutions arising out of a single transaction or against a federal prosecution that

would be duplicative of a state prosecution,” Blaszczak, 56 F.4th at 238 (quoting Petite v. United

States, 361 U.S. 529 (1960)), or a change in generally applicable immigration policy relevant to

the charges brought in a particular case. Id. at 239 (quoting Gaona-Romero v. Gonzales, 497

F.3d 694 (5th Cir. 2007)). A prosecutor’s motion to dismiss under Rule 48(a) is similarly

appropriate where the prosecutor represents that she has “developed a serious and substantial

doubt as to [the defendant’s] guilt,” id. at 239 (quoting United States v. Weber, 721 F.2d 266 (9th

Cir. 1983)), or the prosecutor confesses error on the ground that the charges cannot meaningfully

be distinguished from charges found to be legally deficient in another case. Id. at 241 (quoting

United States v. Aytes, No. 19-3981, Dkt. No. 70 (2d Cir. Apr. 13, 2021)). In sum, the Second

Circuit has explained that a Rule 48(a) motion should be granted on a record that demonstrates




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that “the prosecutor acted in good faith at the time he moved for dismissal.” Id. at 240 (citation

omitted); United States v. Hayden, 860 F.2d 1483, 1488 (9th Cir. 1988) (“As the district judge

properly found, when the government requests a Rule 48(a) dismissal in good faith, the district

court is duty bound to honor the request.”).

           The way to develop an appropriate record lies within the court’s discretion. In United

States v. Flynn, Judge Emmett Sullivan appointed the Honorable John Gleeson as amicus curiae

to present arguments in opposition to the government’s Rule 48(a) application to dismiss the

pending charges. No. 1:17-cr-00232 (D.D.C. May 13, 2020) (Dkt. No. 205). A Presidential

pardon ultimately rendered the matter moot. Id. (Dkt. No. 311). In the prosecution of United

States Senator Ted Stevens, after being presented with a defense motion to dismiss the

indictment for prosecutorial misconduct, the court appointed outside counsel to investigate

whether the Department of Justice had committed contempt of court, and directed the

Department to cooperate with outside counsel and to provide counsel with “access to

investigative files, witnesses, and other information as requested.” United States v. Stevens, No.

1:08-cr-00231 (D.D.C. April 8, 2009) (Dkt. No. 375).4

    III.      The Facts in this Case Warrant a Factual Inquiry

           Although a factual inquiry may not be necessary in every case, this case is extraordinary.

Here, the DOJ does not seek dismissal for well-recognized law enforcement purposes. On the

contrary, the facts in the public record suggest that the government is seeking a nolle prosequi for

reasons that may be pretextual, and contrary to the public interest. The DOJ’s asserted reasons


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  Here, the Court’s factfinding process could seek written and testimonial evidence as
appropriate. For instance, the Court could require testimony and documents regarding
communications among Mr. Bove, counsel for Mr. Adams, and others. The Court could also
inspect the handwritten notes the DOJ apparently seized from counsel during a meeting that took
place on January 31, 2025. (See Ex. 3 at 3 n.1).


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for seeking dismissal are not supported by any facts in the record, and the existing incomplete

record contradicts its claims. The public record to date therefore could be read to suggest that

the application for a nolle prosequi amounts to an abuse of the Court’s processes.

       The DOJ’s bare-bones application for a nolle prosequi avoids any reference to the

extraordinary circumstances that preceded its filing. (Dkt. No. 122). There is no reference to the

resignation of the Acting United States Attorney, no reference to her lengthy letter to the

Attorney General explaining why dismissal of the Adams indictment is not appropriate, no

mention of the views of the SDNY prosecution team agreeing with Ms. Sassoon’s analysis, and

no discussion of the resignations of members of the DOJ’s Public Integrity Section, who likewise

believed that a dismissal would be contrary to the public interest.

       In the accompanying attachments, amici have placed more of the surrounding

circumstances into the record. We respectfully refer the Court to the letter dated February 12,

2025, from Danielle Sassoon to Attorney General Bondi. (Ex. 3). That letter speaks for

itself. At a minimum, the letter demonstrates why the Court should question whether a nolle

prosequi is in the public interest, and why there should be a searching inquiry into the DOJ’s

asserted bases for seeking a nolle.

       The DOJ’s response to the Sassoon letter reinforces the need for further inquiry. Mr.

Bove’s letter to Ms. Sassoon, dated February 13, 2025, refers to this case as “a politically

motivated prosecution,” and the DOJ thereafter issued a public statement referencing a

“politically motivated witch hunt.” (Exs. 4, 7 at 3–4). Its application for a nolle prosequi does

not use this language; it refers obliquely to “appearances of impropriety” and risks of electoral




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interference. (Dkt. No. 122 ¶ 5).5 By conducting a factual inquiry including, if necessary, an

evidentiary hearing, the Court can determine whether the Adams prosecution was politically

inspired or litigated to achieve political ends, or whether the DOJ’s “weaponization” claim is

pretextual and itself represents a politicization of the criminal justice process.

       Further inquiry is also appropriate to test the DOJ’s assertion that the pendency of the

indictment interferes with Mr. Adams’ “ability to govern” in New York City, which exposes the

city to “unacceptable threats to public safety, national security, and related federal immigration

initiatives and policies.” (Dkt. No. 122 ¶ 6). Amici note, in this regard, that Mayor Adams

himself has repeatedly and vociferously stated that the pending indictment has had no impact on

his mayoral duties.6 And the DOJ’s stated concern about the Mayor’s inability to get a security

clearance is insubstantial; the Court can take judicial notice that President Trump has by

Executive Order both revoked security clearances and ordered them granted.

       A further inquiry is also necessary to determine whether, as Ms. Sassoon and Mr. Scotten

have claimed, the DOJ is attempting to use a dismissal of the indictment without prejudice, and

the prospect of its reinstatement, as a means of securing Mr. Adams’ cooperation with the

Administration’s anti-immigration policies. Ms. Sassoon’s concerns regarding a “quid pro quo”

are based on statements she personally heard at a January 31, 2025 meeting involving Mr.



5
  The application also cites a website maintained by Damian Williams, along with an op-ed he
wrote. (Dkt. No. 122 ¶ 5). Mr. Williams created the website and wrote the op-ed after he left
public service. The DOJ asserts that the website and the op-ed establish Mr. Williams’ ambition
to pursue a political career. But this obviously does not automatically transform an indictment
prosecuted during his tenure into a political “witch hunt,” particularly where there has not even
been a claim of vindictive or selective prosecution. (Cf. Dkt. No. 103 at 5 (concluding that Mr.
Williams’ op-ed and website did “not change the Court’s analysis” regarding its decision to deny
Mr. Adams’ motion for an evidentiary hearing and sanctions)).
6
 Gregory Kreig, Eric Adams faces pressure to resign as New York Democrats plot next moves,
CNN, Sept. 16, 2024.


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Adams’ counsel, Mr. Bove, and prosecutors from the Southern District of New York. (Ex. 3 at 3

n.1). Although Mr. Bove has denied the existence of any “quid pro quo” relationship with Mayor

Adams, amici direct the Court’s attention to Mr. Adams’ recent appearance on a television show

with Thomas Homan, the Administration’s “border czar.”7 During that appearance, the Mayor

reiterated his intention to work with the President to detain and deport immigrants who have

committed crimes. Mr. Homan then warned Mr. Adams that the Administration would be

watching for his compliance, and he added the following: “If he doesn’t come through, I’ll be

back in New York City, and we won’t be sitting on the couch — I’ll be in his office, up his butt,

saying, ‘Where the hell is the agreement we came to?’”8

       If indeed there was a “quid pro quo” agreement between the DOJ and Mayor Adams that

resulted in the pending request for a nolle prosequi, amici believe that the Court should not

become a party to its implementation. To be sure, the Department of Justice is part of the

Executive Branch of government and should act to carry out the policies of the President.

However, this proposition has its limits. Amici have long believed that, while the President has

the right to set broad law enforcement priorities, law enforcement decisions in individual cases

should not be politicized, and the President should not direct individual prosecutive decisions

within the DOJ. The DOJ’s Principles of Federal Prosecution forbid prosecutors from making

decisions for political purposes. U.S. Dep’t. of Justice, Justice Manual § 9-27.260 (2018).

Although the Constitution does not expressly establish prosecutorial independence, it has been

for many decades a defining feature of the federal system for the administration of justice.



7
 Fox News, Tom Homan, Mayor Adams reveal ‘game changer’ move on ICE deportations,
YouTube, Feb. 14, 2025, available at: https://www.youtube.com/watch?v=wy6gmUL-_9I
8
 Emma Fitzsimmons, Eric Adams Highlights Coordination With Trump’s Border Czar on Fox
News, New York Times, Feb. 14, 2025.


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Trading a dismissal of an indictment for the defendant’s adherence to political objectives would

be a departure from the finest traditions of the Department of Justice and the United States

Attorney’s Office for the SDNY.

       Even if such an agreement were to lie within the authority of the Executive Branch, the

Court need not, and in our view should not, lend its approval to it. Once the government obtains

an indictment and presents it to a court, it no longer has unfettered discretion to use or to

abandon the legal process to achieve its objectives. Ours is a system of checks and balances. A

grand jury indictment signifies the existence of probable cause to believe that the defendant has

committed crimes; the decision whether to abandon the prosecution is no longer within the sole

province of the Executive—the court has the authority to decide whether a dismissal is

appropriate and in the public interest. Certainly a court should afford the Executive, which

speaks through the Department of Justice, a large measure of discretion to weigh competing

interests. But where, as here, there are compelling reasons to question whether a dismissal is in

the public interest, and whether a dismissal would amount to an abuse of the Court’s processes,

the Court should not hesitate to withhold its approval, and it should closely examine the

underlying facts and circumstances. To do otherwise could undermine the public’s confidence in

the judiciary as a neutral arbiter free from political or personal influence. And whatever may be

the Executive’s power to make prosecutive decisions, it clearly does not have the power to enlist

the Court’s approval on the basis of false, misleading, or incomplete information. The materials

in the public record, including Ms. Sassoon’s letter to the Attorney General (Ex. 3), raise

abundant concerns in this regard.

       If the Court should determine, after making a searching inquiry, that the dismissal of the

case is not appropriate or in the public interest, it will have to consider what further action might




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be warranted. Amici recognize that simply directing the Department of Justice to proceed with

the prosecution may be fraught with legal and practical difficulty. But there may be other

available remedies if the public interest so requires. In certain contempt cases, courts have

appointed special prosecutors where a United States Attorney declined to bring charges. United

States v. Donziger, 38 F.4th 290, 294 (2d Cir. 2022) (upholding a criminal contempt conviction

brought by a special prosecutor appointed under Federal Rule of Criminal Procedure

42(a)(2)). Courts also have the authority to direct federal prosecutors to make evidence,

including grand jury materials, available to state and local prosecutors where necessary and

appropriate. See Federal Rule of Criminal Procedure 6(e)(3)(E).

       Aside from continued prosecution, a thorough fact finding may also lead to other

necessary and important outcomes. Depending on the evidence developed, these could include a

contempt proceeding based on the conduct examined; criminal referrals if warranted; and/or

disciplinary recommendations. In short, depending on the circumstances, the Court could have a

variety of procedural avenues available to protect the integrity of the Court and the justice

system from abuse.

       At this stage, however, amici submit that the question of remedy is premature. In the

view of amici, the Court need not confront that question until it determines whether to grant the

pending application for an order of nolle prosequi. In the extraordinary circumstances of this

case, that determination warrants a searching factual inquiry, which the Court unquestionably has

the authority to order. What is at stake here is far more than an internal prosecutorial dispute

about an individual case. The public furor that has arisen during the past week raises concerns

about respect for the rule of law and the division of power between the Executive and Judicial

Branches of government in our nation. The best way to address these concerns is to conduct an




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inquiry that will allow the Court—and ultimately the public—to determine where the interests of

justice may lie.

       Dated: February 17, 2025

                                               Respectfully submitted,


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